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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

                                            §
IN RE:                                      §     CASE NO. 21-60052
                                            §
SCOTT VAN DYKE,                             §     CHAPTER 11 (Sub V)
                                            §
               DEBTOR.                      §
                                            §
                              FEE APPLICATION SUMMARY
Name of Applicant:                                       Melissa A. Haselden
Applicant’s Role in Case:                                Chapter 11 Subchapter V Trustee
Date Notice of Appointment Filed:                        6/01/2021 (Doc. 5)
                                                         Beginning of Period     End of Period
Time period covered by this Application:                        06/01/2021          01/31/2022
Time period(s) covered by prior Applications:                       N/A                N/A
Total amounts awarded in all prior Applications:                                                N/A
Total fees requested in this Application:                                                  $5,680.00
Total professional fees requested in this Application:                                     $5,680.00
Total actual professional hours covered by this Application:                                    14.2
Average hourly rate for professionals:                                                      $400.00
Total paraprofessional fees requested in this Application:                                      N/A
Total actual paraprofessional hours covered by this Application:                                N/A
Average hourly rate for paraprofessionals:                                                      N/A
Reimbursable expenses sought in this application:                                                 0
Application cost:                                                                          $5,680.00
Total of other payments paid to secured claimants:                                              N/A
Total of other payments paid to administrative claimants:                                       N/A
Estimated total for distribution to priority unsecured creditors:                               N/A
Estimate percentage dividend to priority unsecured creditors:                                   N/A
Estimated total for distribution to general unsecured creditors:                                N/A
Estimate percentage dividend to general unsecured creditors:                                    N/A
Receipts to date:                                                                                 0
Disbursements to date:                                                                            0
Current balance in the Trustee’s accounts:                                                      N/A
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           FIRST AND FINAL APPLICATION OF MELISSA A. HASELDEN
        FOR ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED
      AND FOR REIMBURSEMENT OF EXPENSES AS SUBCHAPTER V TRUSTEE
        FOR THE PERIOD FROM JUNE 01, 2021 THROUGH JANUARY 31, 2022


                                      NOTICE PURSUANT TO LOCAL RULE 9013-1

THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU OPPOSE THE
MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING PARTY TO RESOLVE THE DISPUTE.
IF YOU AND THE MOVING PARTY CANNOT AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY
TO THE MOVING PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE
DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE WHY THE MOTION SHOULD NOT
BE GRANTED. IF YOU DO NOT FILE A TIMELY RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT
FURTHER NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND HAVE NOT REACHED AN
AGREEMENT, YOU MUST ATTEND THE HEARING. UNLESS THE PARTIES AGREE OTHERWISE, THE
COURT MAY CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE THE MOTION AT THE
HEARING.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE,

          Melissa A. Haselden (“Trustee”) of Haselden Farrow, PLLC (“HF”), Subchapter V Trustee

in the captioned case filed by Scott Van Dyke (“Debtor”), files this First and Final Application

for Allowance of Compensation (“Application”), requesting fees in the amount of $5,680.00,

reimbursement of expenses of $0.00, and reimbursement for the preparation and service of this

application of $600.00 for a total amount of $6,280.00, for the period from June 1, 2021 through

January 31, 2022 (the “Compensation Period”), pursuant to Sections 330 and 331 of the 11

U.S.C. § 101, et seq. (the “Bankruptcy Code”), Rule 2016 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”) and S.D. Tex. L.B.R. 2016-1(c).                In support of this

Application, Trustee respectfully represents as follows:

                                                          JURISDICTION

          1.         This Court has jurisdiction to hear and determine the Application pursuant to 28

U.S.C. § 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (B).


First and Final Fee Application of Subchapter V Trustee        2
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                                                          INTRODUCTION

          2.         On May 25, 2021 (the “Petition Date”), Debtor filed a voluntary petition under

Subchapter V of Chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the

Southern District of Texas, Houston Division (the “Court”).

          3.         On June 01, 2021, the United States Trustee filed a Notice of Appointment of

Subchapter V Trustee which appointed Trustee to act as its Subchapter V Trustee. [Docket No.

05].

          4.         On January 11, 2022, the Debtor filed a motion to convert its chapter 11 case to

chapter 7 [Docket No. 121].

          5.         On January 31, 2022, the Court entered an order converting the case to a chapter 7

[Docket No. 129].

                                                   PRIOR FEE APPLICATIONS

          6.         Trustee has not filed any prior interim fee applications. This Application covers all

fees and expenses provided by Trustee during the pendency of this case.

                                            FIRST AND FINAL FEE APPLICATION

          7.         This Trustee’s first and final application for compensation which covers

professional services performed and expenses incurred from June 01, 2021 through January 31,

2022. During the period covered by this Final Fee Application, the Trustee expended a total of

14.2 hours for professional services rendered. A complete and itemized accounting of the

foregoing time has been provided to the Debtor and is set forth in the Invoices attached as Exhibit

A. The Invoices record the Trustee’s daily time entries and include a description of the nature and

substance of the services rendered, the date on which the services were performed, and the




First and Final Fee Application of Subchapter V Trustee        3
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attorney, clerk, or paralegal, who performed the services and the amount of time actually spent as

well as the costs incurred or advanced by the Trustee.

          8.         The value of the professional services rendered by the Trustee between June 01,

2021 and January 31, 2022 totals $5,680.00 and no expenses.

          9.         The fees and expenses during the applicable period are broken down as follows:

 Period                                                            Fees      Expenses           Total
 June 01-June 30, 2021                                          $880.00             0         $880.00
 July 1-July 31, 2021                                         $2,000.00             0       $2,000.00
 August 1-August 31, 2021                                       $280.00             0         $280.00
 September 1-September 30, 2021                                  $80.00             0          $80.00
 October 1 – October 31, 2021                                   $560.00             0         $560.00
 November 1 – November 30, 2021                               $1,160.00             0       $1,160.00
 December 1 – December 31, 2021                                 $720.00             0         $720.00
 Totals                                                       $5,680.00             0       $5,680.00

          10.        The Trustee requests payment of fees and expenses totaling $5,680.00 for services

it provided during Debtor’s chapter 11 case, plus an additional $600.00 related to the cost to

prepare and serve this Application for a total of $6,280.00.

                                            SUMMARY OF SERVICES RENDERED

          11.        The services rendered by the Trustee to the Debtor were necessary and appropriate.

The compensation requested is commensurate with the complexity and nature of the issues and

tasks involved.

          12.        The following project categories detail the activities performed by the Trustee and

the time spent in performance of each such service are as follows.

                                        LEGAL SERVICES PROVIDED TO DEBTOR

 A. 110-Case Administration                                               4.60 Hrs.         $1,840.00




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          13.        These fees include all services rendered by HF concerning the general

administration of this case which include time for matters that are not readily classifiable into more

specific matters including: (1) reviewing, and conferring with Debtor’s counsel regarding

operating reports; (2) preparing for and attending initial debtor interview, status conferences

required by the Court and communications regarding the same; (3) general correspondence with

the Debtor’s counsel regarding developments and case strategy; (4) general correspondence and

communications with creditors; and (5) other general administrative tasks that were not easily

categorized into other matters.

                                                                           4.9 Hrs.          $1,960.00
 B. 140-Relief from Stay/Adequate Protection

          14.        Time was billed to this matter to prepare for and attend various hearings and status

conferences related to motions for relief from stay and district court hearings regarding the same.

Time was also billed to this matter related to email correspondence and phone conferences with

various constituents regarding relevant issues.

 C. Professionals                                                          .10 Hrs.             $40.00

          15.        Time was billed to this matter for email correspondence related to employment of

Debtor’s counsel.

 D. Litigation Matters                            .10 Hrs.   $40.00

            16.        Trustee billed time to this matter to review

 order granting summary judgment.

 E.         320-Plan and Disclosure Statement                                    4.5 Hrs.         $1,800.00

          17.        Trustee billed time to this matter relative to discussions with Debtor’s counsel

regarding filing Chapter 11 plan; reviewing plan and related exhibits and related pleadings

seeking to extend voting deadlines and to attend hearing on plan confirmation. Trustee also

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billed time to this matter to correspondence and conferences with creditors regarding issues

relative to plan confirmation and potential objections.

                                                          First Colonial Factors

          18.        Pursuant to Bankruptcy Local Rule 2016(a), fee applications must include a

discussion of the factors considered in American Benefit Life Ins. Co. v. Baddock (In re First

Colonial Corp. of America), 544 F.2d 1291, 1298-99 (5th Cir.), cert. denied, 431 U.S. 904 (1977).

Consideration of the factors listed in First Colonial Corp. indicates that the compensation requested

by Trustee for the services rendered during the Compensation Period is reasonable:

             (i)     Time and Labor Required. As set forth in detail on Exhibit A, Trustee spent 14.2

hours during the Compensation Period performing her required duties as Trustee to the Debtor.

            (ii)     Novelty and Difficulty of the Questions. The services of a Subchapter V Trustee

require special knowledge of the Bankruptcy Code.

          (iii)      Skill Requisite to Perform the Service Properly. Acting as a Subchapter V Trustee

required knowledge of the Bankruptcy Code and, in particular, its’ provisions as they relate to the

Debtor’s rights and duties under Chapter 11 of the Bankruptcy Code.

           (iv)      Preclusion of Other Employment Due to the Acceptance of the Case. To the extent

the Trustee devoted time performing her duties and assisting the Debtor, she was precluded from

performing legal services on behalf of other clients. Aside from the foregoing, there was no

preclusion from other employment.

            (v)      Customary Fee. The Trustee has requested a total fee which it feels is reasonable

under the circumstances. The hourly rates applied for are the normal rates charged by the Trustee

during the period of its service. In the opinion of the Trustee, such rates are in line with the




First and Final Fee Application of Subchapter V Trustee         6
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community standard for comparable work.

           (vi)      Whether the Fee is Fixed or Contingent. The fees in a bankruptcy proceeding are

always contingent upon ultimate approval by the court and contingent upon there being assets

available with which to pay such fees.

          (vii)      Time Limitations imposed by client and other circumstances. Subchapter V

imposes certain deadlines which must be met. No other time limitations were imposed by this case.

         (viii)      Amount Involved and Results Obtained. This factor is not applicable in this

proceeding.

           (ix)      The experience, reputation, and ability of the professionals. Melissa A. Haselden is

board certified in business bankruptcy by the Texas Board of Legal Specialization. She believes

she is generally recognized in this district for her abilities and competency, particularly in the field

of bankruptcy law.

            (x)      The Undesirability of the Case. This factor is not applicable in this proceeding.

           (xi)      Nature and Length of Professional Relationship with Client. The nature and length

of professional relationship with client is not a factor in this proceeding.

          (xii)      Awards in Similar Cases. Given the fact that Subchapter V has been so recently

enacted, the Trustee is unaware of fees awarded to other Subchapter V Trustees in similar cases.

However, the Trustee made every effort to limit fees while also providing necessary services and

support to the Debtor.

                                               FIRST AND FINAL APPLICATION.

          19.        The Trustee requests the Court to authorize compensation to be paid to Trustee and

HF in the amount of $5,680.00 for fees which it incurred between June 01, 2021 and January 31,




First and Final Fee Application of Subchapter V Trustee     7
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2022. The Trustee also requests that this Court authorize reimbursement to it for expenses totaling

$0.00.

                         ESTIMATED AMOUNT TO PREPARE FINAL FEE APPLICATION.

          20.        The Trustee further requests payment of $600.00 related to the cost of preparing

and serving this Application.

          WHEREFORE, the Subchapter V Trustee requests that the Court:

          a)         Authorize payment and reimbursement of $6,280.00 to Trustee and HF

representing (a) fees of $5,680.00; (ii) expenses of $0,00; and (iii) reimbursement of fees and costs

of $600.00 for the preparation and service of this Application; and

          b)         Grant such other and further relief to which the Subchapter V Trustee may show

itself to be justly entitled.

          DATED:                February 26, 2022             Respectfully submitted,

                                                              HASELDEN FARROW PLLC

                                                              By: /s/ Melissa A. Haselden
                                                              Melissa A. Haselden
                                                              State Bar No. 00794778
                                                              700 Milam, Suite 1300
                                                              Pennzoil Place
                                                              Houston, Texas 77002
                                                              Telephone: (832) 819-1149
                                                              Facsimile: (866) 405-6038
                                                              mhaselden@haseldenfarrow.com




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                                                CERTIFICATE OF SERVICE

        I hereby certify that on February 26, 2022, a copy of the foregoing First and Final Application
of Melissa A. Haselden, Subchapter V Trustee, for Allowance of Compensation for Services Rendered
and for Reimbursement of Expenses as Subchapter V Trustee for the Period from June 01, 2021 to
January 31, 2022 has been served via through the ECF system to the parties listed below:

21-60052 Notice will be electronically mailed to:

Travis Clayton Badger on behalf of Creditor Cadence Bank, N.A.
bkcy@badgerlawoffice.com

Reese W Baker on behalf of Creditor Reese Baker
courtdocs@bakerassociates.net,
i.go@bakerassociates.net;igotnotices@gmail.com;courtdocsrbaker@gmail.com;reese.baker@ba
kerassociates.net;bakernotices@gmail.com;baker5151calendar@gmail.com;staff@bakerassociat
es.net;bakerassociates@jubileebk.net

Allison D Byman
adb@bymanlaw.com,
adb@trustesolutions.net;rww.trustee1@gmail.com;cadb11@trustesolutions.net;rah@bymanlaw.
com

John P Dillman on behalf of Creditor Harris County, et al.
Houston_bankruptcy@publicans.com

David S Elder on behalf of Creditor Michael L. Noel
dselder@foley.com, rdiep@foley.com;david-elder-1574@ecf.pacerpro.com

William Fred Hagans on behalf of Creditor Eva S. Engelhart, Chapter 7 Trustee
fhagans@hagans.law,
nwidmann@hagans.law;jaguilar@hagans.law;reiszner@hagans.law;ckulhanek@hagans.law;km
ontgomery@hagans.law

Julie Goodrich Harrison on behalf of Creditor Anzar Settlement Funding Corp.
julie.harrison@nortonrosefulbright.com

Julie Goodrich Harrison on behalf of Creditor Littlemill Limited
julie.harrison@nortonrosefulbright.com

Julie Goodrich Harrison on behalf of Creditor Prosperity Settlement Funding, Inc.
julie.harrison@nortonrosefulbright.com

Julie Goodrich Harrison on behalf of Creditor Andrea Lore
julie.harrison@nortonrosefulbright.com

Julie Goodrich Harrison on behalf of Creditor Eva S. Engelhart, Chapter 7 Trustee

First and Final Fee Application of Subchapter V Trustee   9
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julie.harrison@nortonrosefulbright.com

Melissa A Haselden
mhaselden@haseldenfarrow.com,
haseldenbankruptcytrustee@gmail.com;mhaselden@ecf.axosfs.com;haselden.melissaa.r104367
@notify.bestcase.com

Dale Robert Mellencamp on behalf of Creditor Builders West, Inc.
dmellencamp@bairhilty.com

Robert W. Miller on behalf of Creditor Philadelphia Indemnity Insurance Company
rmiller@manierherod.com

Leann Opotowsky Moses on behalf of Creditor Forest Home Plantation, LLC
moses@carverdarden.com, Langley@carverdarden.com;8167471420@filings.docketbird.com

Ha Minh Nguyen on behalf of U.S. Trustee US Trustee
ha.nguyen@usdoj.gov

Michael Kevin Riordan on behalf of Plaintiff Michael L. Noel
mriordan@foley.com, rdiep@foley.com;mike-riordan-8644@ecf.pacerpro.com

Michael Kevin Riordan on behalf of Plaintiff Sue Noel
mriordan@foley.com, rdiep@foley.com;mike-riordan-8644@ecf.pacerpro.com

Jayson B. Ruff on behalf of U.S. Trustee US Trustee
jayson.b.ruff@usdoj.gov

Brendon D Singh on behalf of Debtor Scott Vincent Van Dyke
Bsingh@ts-llp.com, ecf@ctsattorneys.com;corraltransinghllp@jubileebk.net

Susan Tran Adams on behalf of Debtor Scott Vincent Van Dyke
susan.tran@ctsattorneys.com, ecf@ctsattorneys.com;corraltransinghllp@jubileebk.net

Susan Tran Adams on behalf of Defendant Scott Vincent Van Dyke
susan.tran@ctsattorneys.com, ecf@ctsattorneys.com;corraltransinghllp@jubileebk.net

US Trustee
USTPRegion07.HU.ECF@USDOJ.GOV

Jett Williams, III on behalf of Creditor Henke, Williams & Boll, LLP
jwilliams@henkelawfirm.com, vclark@henkelawfirm.com



                                                               /s/ Melissa A. Haselden
                                                               Melissa A. Haselden
First and Final Fee Application of Subchapter V Trustee   10
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                                                 Haselden Farrow PLLC
                                                   700 Milam, Suite 1300
                                                       Pennzoil Place
                                                    Houston, TX 77002

        Invoice submitted to:                                                                             Invoice # 11630
          In re Scott Van Dyke
                                                                                                    Invoice Date: 08/30/21
          c/o Tran Singh LLP
                                                                                                                  Ct Approval
          2502 La Branch St                                                                                Terms:
                                                                                                                  Required
          Houston, TX 77004                                                                     Services Through: 06/30/21
          Email: stran@ts-llp.com
        Description Trustee for Scott Van DykeMatter 110 Case Administration


Date         By       Service Summary                                                    Hours/Qty       Rate           Amount
  06/04/21    MAH Prepare for and attend status conference and phone conference with           0.50    400.00           $200.00
                  Debtor's counsel regarding the same.
  06/05/21    MAH Email exchange with client regarding cash flow projections.                  0.50    400.00           $200.00
  06/28/21    MAH Attend hearing on emergency motion.                                          0.30    400.00           $120.00
                                                                                                  Total Hours:             1.30
                                                                                                  Total Labor:          $520.00
                                                                                       Total Invoice Amount:            $520.00
                                                                                          Total Amount Due:             $520.00


User Summary
User                                      Hrs       Rate                 Amount
Melissa A. Haselden                       1.30    @ 400.000                520.00




                                                           EXHIBIT "A"




                                                                                                                       Page: 1 of 1
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                                                 Haselden Farrow PLLC
                                                    700 Milam, Suite 1300
                                                        Pennzoil Place
                                                     Houston, TX 77002

        Invoice submitted to:                                                                                Invoice # 11631
          In re Scott Van Dyke
                                                                                                       Invoice Date: 08/30/21
          c/o Tran Singh LLP
                                                                                                                     Ct Approval
          2502 La Branch St                                                                                   Terms:
                                                                                                                     Required
          Houston, TX 77004                                                                        Services Through: 06/30/21
          Email: stran@ts-llp.com
        Description Trustee for Scott Van Dyke Matter 140 Relief from Stay


Date         By       Service Summary                                                       Hours/Qty       Rate           Amount
  06/16/21    MAH Review motion for relief filed by Chapter 7 trustee and various other           0.20    400.00            $80.00
                  parties.
  06/16/21    MAH Phone conference with counsel for Chapter 7 trustee regarding filing            0.20    400.00            $80.00
                  motion for relief.
  06/21/21    MAH Email exchange with counsel for Chapter 7 trustee regarding issues              0.20    400.00            $80.00
                  relative to motion for relief.
  06/25/21    MAH Phone conference with counsel for Debtor regarding issues relative to           0.20    400.00            $80.00
                  status conference.

                                                                                                     Total Hours:             0.80
                                                                                                     Total Labor:          $320.00
                                                                                          Total Invoice Amount:            $320.00
                                                                                             Total Amount Due:             $320.00


User Summary
User                                      Hrs        Rate                 Amount
Melissa A. Haselden                       0.80     @ 400.000                 320.00




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                                                Haselden Farrow PLLC
                                                   700 Milam, Suite 1300
                                                       Pennzoil Place
                                                    Houston, TX 77002

        Invoice submitted to:                                                                               Invoice # 11632
          In re Scott Van Dyke
                                                                                                      Invoice Date: 08/30/21
          c/o Tran Singh LLP
                                                                                                                    Ct Approval
          2502 La Branch St                                                                                  Terms:
                                                                                                                    Required
          Houston, TX 77004                                                                       Services Through: 06/30/21
          Email: stran@ts-llp.com
        Description Trustee for Scott Van Dyke Matter 160 - Retention of Professionals


Date         By       Service Summary                                                      Hours/Qty       Rate           Amount
  06/28/21    MAH Email exchange with Ms. Tran regarding application to employ firm              0.10    400.00            $40.00
                  as Debtor's counsel.

                                                                                                    Total Hours:             0.10
                                                                                                    Total Labor:           $40.00
                                                                                         Total Invoice Amount:             $40.00
                                                                                            Total Amount Due:              $40.00


User Summary
User                                     Hrs        Rate                 Amount
Melissa A. Haselden                      0.10     @ 400.000                 40.00




                                                                                                                         Page: 1 of 1
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                                                    Haselden Farrow PLLC
                                                       700 Milam, Suite 1300
                                                           Pennzoil Place
                                                        Houston, TX 77002

        Invoice submitted to:                                                                         Invoice # 11633
          In re Scott Van Dyke
                                                                                                Invoice Date: 08/30/21
          c/o Tran Singh LLP
                                                                                                              Ct Approval
          2502 La Branch St                                                                            Terms:
                                                                                                              Required
          Houston, TX 77004                                                                 Services Through: 07/31/21
          Email: stran@ts-llp.com
        Description Trustee for Scott Van Dyke Matter 110 - Case administration


Date         By       Service Summary                                                Hours/Qty       Rate           Amount
  07/01/21    MAH     Prepare for and attend initial Debtor interview.                     0.50    400.00           $200.00
  07/07/21    MAH     Review initial debtor packet.                                        0.20    400.00            $80.00
  07/07/21    MAH     Attend initial debtor interview.                                     0.70    400.00           $280.00
  07/22/21    MAH     Attend status conference.                                            0.30    400.00           $120.00
                                                                                              Total Hours:             1.70
                                                                                              Total Labor:          $680.00
                                                                                   Total Invoice Amount:            $680.00
                                                                                      Total Amount Due:             $680.00


User Summary
User                                         Hrs        Rate             Amount
Melissa A. Haselden                          1.70     @ 400.000           680.00




                                                                                                                   Page: 1 of 1
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                                                Haselden Farrow PLLC
                                                   700 Milam, Suite 1300
                                                       Pennzoil Place
                                                    Houston, TX 77002

        Invoice submitted to:                                                                            Invoice # 11634
          In re Scott Van Dyke
                                                                                                   Invoice Date: 08/30/21
          c/o Tran Singh LLP
                                                                                                                 Ct Approval
          2502 La Branch St                                                                               Terms:
                                                                                                                 Required
          Houston, TX 77004                                                                    Services Through: 07/31/21
          Email: stran@ts-llp.com
        Description Trustee for Scott Van Dyke Matter 140 - Relief from Stay


Date         By       Service Summary                                                   Hours/Qty       Rate           Amount
  07/07/21    MAH Attend hearing on Motion for Relief.                                        0.50    400.00           $200.00
  07/07/21    MAH Email exchange with Judge Gilmore's case manager regarding status           0.20    400.00            $80.00
                  conference.
  07/16/21    MAH Attend status conference in Judge Gilmore's court.                          1.30    400.00           $520.00
  07/19/21    MAH Attend 341 meeting of creditors.                                            1.30    400.00           $520.00
                                                                                                 Total Hours:             3.30
                                                                                                 Total Labor:        $1,320.00
                                                                                      Total Invoice Amount:          $1,320.00
                                                                                         Total Amount Due:           $1,320.00


User Summary
User                                     Hrs        Rate                 Amount
Melissa A. Haselden                      3.30     @ 400.000              1,320.00




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                                                 Haselden Farrow PLLC
                                                    700 Milam, Suite 1300
                                                        Pennzoil Place
                                                     Houston, TX 77002

        Invoice submitted to:                                                                             Invoice # 11727
          In re Scott VanDyke
                                                                                                    Invoice Date: 01/07/22
          c/o Tran Singh LLP
                                                                                                                  Ct Approval
          2502 La Branch St                                                                                Terms:
                                                                                                                  Required
          Houston, TX 77004                                                                     Services Through: 12/31/21
          Email: stran@ts-llp.com
        Description 2229 - Trustee for Scott Van DykeMatter 320 - Chapter 11 Plan


Date         By       Service Summary                                                    Hours/Qty       Rate           Amount
  12/07/21    MAH Email exchange with counsel for Debtor and counsel for Trustee               0.30    400.00           $120.00
                  regarding continuance of plan confirmation and related deposition.
  12/13/21    MAH Review amended Chapter 11 plan.                                              0.20    400.00            $80.00
  12/14/21    MAH Phone conference with Debtor's counsel regarding confirmation                0.30    400.00           $120.00
                  objections.
  12/14/21    MAH Prepare for and attend Zoom conference to discuss plan issues.               0.30    400.00           $120.00
  12/14/21    MAH Email exchange with Debtor's counsel and counsel for Chapter 7               0.20    400.00            $80.00
                  trustee regarding plan issues.
  12/14/21    MAH Attend hearing on plan confirmation.                                         0.50    400.00           $200.00
                                                                                                  Total Hours:             1.80
                                                                                                  Total Labor:          $720.00
                                                                                       Total Invoice Amount:            $720.00
                                                                                          Total Amount Due:             $720.00


User Summary
User                                      Hrs        Rate                Amount
Melissa A. Haselden                       1.80     @ 400.000                720.00




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